                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )      Case No. 06-3114-01-CR-S-GAF
                                             )
DEAN P. PROFFITT,                            )
                                             )
                      Defendant.             )

                                            ORDER

       Now pending before the Court is Defendant’s Motion to Suppress Pretrial Photographic

Identification and In Court Identification of Dean Proffitt by Adil Majlovic (Doc. #181). A

hearing was scheduled on Defendant’s Motion to Suppress for January 24, 2008. The parties

were advised by the Court that only the issue of the photographic array would be taken up at that

hearing.

       On January 14, 2008, the government filed a Report advising the Court that the

photographic array would not be used at trial. The government further advised that it did not

intend to use witness Adil Majlovic to make an in court identification of Defendant at trial. The

suppression hearing previously scheduled for January 24, 2008, was cancelled.

       On January 18, 2008, Chief United States Magistrate Judge James C. England issued his

Report and Recommendation.

       Upon careful and independent review of the pending motion, as well as the applicable

law, this Court hereby adopts and incorporates as its own Opinion and Order the Report and

Recommendation of Chief United States Magistrate Judge James C. England.

       Accordingly, it is hereby ORDERED that Defendant's Motion to Suppress (Doc. # 181)




       Case 6:06-cr-03114-GAF         Document 261        Filed 02/13/08      Page 1 of 2
as to in court identification of defendant Proffitt by witness Adil Majlovic is GRANTED.

        It is further ORDERED that the remaining issues in the Motion to Suppress are DENIED

without prejudice to the Defendant’s right to attack Defendant’s credibility and/or interview

tactics of the United States at trial.

        SO ORDERED.

                                                    s/ Gary A. Fenner
                                                    GARY A. FENNER, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: February 13, 2008




       Case 6:06-cr-03114-GAF            Document 261     Filed 02/13/08      Page 2 of 2
